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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION




 SECURITIES AND EXCHANGE
 COMMISSION,

                             Plaintiff,

                        v.                          Case No.

 ARTHUR LAMAR ADAMS AND                             3:18-cv-252-CWR-FKB
 MADISON TIMBER PROPERTIES, LLC,

                             Defendants,




             MEMORADUM OF LAW IN SUPPORT OF
     EXPEDITED MOTION TO APPOINT TEMPORARY RECEIVER

      In this securities fraud action, Plaintiff Securities and Exchange Commission

(“Commission”) respectfully moves the Court to appoint a temporary receiver over

Defendants’ assets to preserve them for the benefit of investors. Due to the continued

risk of dissipation of those assets, the Commission asks that the motion be heard as

expeditiously as the Court’s schedule permits.

I.    Introduction and Background

      In its Complaint, the Commission claims that, beginning in approximately

2004, Defendant Arthur Lamar Adams (“Adams”), through his wholly-owned
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company, Madison Timber Properties, LLC (“MT Properties”), committed securities

fraud by operating a Ponzi scheme. [Dkt. 3, Compl., ¶ 1]. The Commission alleges

that Adams and MT Properties have raised at least $85 million from over 150

investors in multiple states. [Dkt. 3, Compl., ¶ 2].

      Defendant Adams does not contest that he used MT Properties to conduct a

Ponzi scheme. At Adams’ change of plea hearing on May 9, 2018 in United States v.

Adams, No. 3:18-CR-88-CWR-LRA (S.D. Miss.), Adams pled guilty to the Bill of

Information filed against him for bank and wire fraud based on the same conduct.

      Defendants and their agents still have control and possession of investor funds

as well as certain assets purchased with investor funds. Counsel for Defendant

Adams has identified interests owned by Adams in at least four real estate ventures.

See Exhibit A (May 8, 2018, Letter from John M. Colette). Upon information and

belief, Adams acquired at least some of these interests while the scheme alleged in

the Complaint was on-going. It is, thus, highly likely that such interests were

acquired, in whole or in part, with investor funds. Counsel for Adams has also

advised that several payments are coming due this month to maintain Adams’

ownership interests in these ventures. Id.

      In addition, individual investors recently have filed lawsuits against Adams

and Madison Timber related to this scheme. See, e.g., Exhibit B. Absent a receiver

and the associated stay of third party litigation that would accompany his or her


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appointment, there will be a “race to the courthouse” and the attendant possibility for

certain investors to obtain preferential treatment with respect to Defendants’ assets.

       The Commission’s ability to seek receivership serves as a critical tool in

enforcing the federal securities laws. In light of the estimated size of the fraud –

nearly $100 million – and the number of investors, a receiver is necessary in this case

to preserve and analyze Defendants’ and third parties’ documents and financial

records to determine the full extent of investor losses, to discover if there are viable

claims against third parties, and to establish a claims process to facilitate a fair and

orderly distribution of remaining assets to investors. Moreover, in order to marshal

and preserve Defendants’ assets and identify other possible assets for the benefit of

the defrauded investors, the Commission asks the Court to use its equitable powers to

appoint a receiver to take control of those assets.

       The Commission therefore seeks the appointment of a temporary receiver who

will, within 60 days, file a report that includes a preliminary plan for the

administration of the receivership estate, including recommendations as to the most

efficient means for marshalling, liquidating and distributing assets within that estate.

The Court, with input from the Commission, can then better determine whether the

receivership should be continued.




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II.      Equitable Power of District Courts to Order a Receivership

         The Fifth Circuit and other courts have repeatedly emphasized the broad

equitable powers of district courts to shape remedies necessary to effectuate the

purposes of the federal securities laws, to preserve a defendant’s assets, and to ensure

that wrongdoers do not profit from their unlawful conduct. SEC v. Wencke, 622 F.2d

1393, 1371 (9th Cir. 1980); SEC v. Safety Fin. Serv., Inc., 674 F.2d 368, 372-73 (5th

Cir.1982) (“the district court has broad powers and wide discretion to determine . . .

relief in an equity receivership”); SEC v. Blatt, 583 F.2d 1325, 1335-1336 (5th Cir.

1978).

         Based on long-standing principles of equity, a receiver serves as a disinterested

court officer who collects and possesses all property subject to the receivership,

known as the receivership “estate.” See, e.g., Atlantic Trust Co. v. Chapman, 208

U.S. 360, 370-71 (1908). The court holds custody of the receivership estate and

administers it through the receiver. Id.; see also Chicago Deposit Vault Co. v.

McNulta, 153 U.S. 554 (1894). The receiver’s possession, therefore, is the court’s

possession. Id. When a district court creates a receivership, the receiver’s focus is

“to safeguard the assets, administer the property as suitable, and to assist the district

court in achieving a final, equitable distribution of the assets if necessary.” Liberte

Capital Group, LLC v. Capwill, 462 F.3d 543, 551 (6th Cir. 2006).




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        The decision to create a receivership rests in the Court’s discretion. Bookout v.

First Nat. Mortg. & Discount Co., Inc., 514 F.2d 757, 758 (5th Cir. 1975).

III.    Appointment of an SEC Receiver is Well-Established in the Fifth Circuit

        The Fifth Circuit has recognized that “[t]he appointment of a receiver is a

well-established equitable remedy available to the SEC in its civil enforcement

proceedings for injunctive relief.” SEC v. First Fin. Group of Texas, 645 F.2d 429,

438 (5th Cir. 1981); see also Netsphere, Inc. v. Baron, 703 F.3d 296, 306 (5th Cir.

2012) (“Thus, in cases of non-compliance with SEC regulations, a receiver may be

appointed to prevent the corporation from dissipating corporate assets and to pay

defrauded investors.”). This discretion derives from the inherent powers of an equity

court to fashion relief. Id.

        The Fifth Circuit has also recognized that an evidentiary hearing is not

required on the Commission’s request to appoint a receiver where the record

discloses sufficient facts to warrant such an appointment. Bookout v. Atlas Fin.

Corp., 395 F. Supp. 1338, 1342 (N.D. Ga. 1974), aff’d, 514 F.2d 757 (5th Cir. 1975).

The Court may appoint a receiver on a prima facie showing of fraud and

mismanagement. See First Fin. Group, 645 F.2d at 438. Factors courts have

considered that indicate the need for a receivership include the following: “a valid

claim by the party seeking the appointment; the probability that fraudulent conduct

has occurred or will occur to frustrate that claim; imminent danger that property will


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be concealed, lost, or diminished in value; inadequacy of legal remedies; lack of a

less drastic equitable remedy; and likelihood that appointing the receiver will do

more good than harm.” Santibanez v. Wier McMahon & Co., 105 F.3d 234, 242 (5th

Cir. 1997), quoting Aviation Supply Corp. v. R.S.B.I. Aerospace, Inc., 999 F.2d 314,

316-17 (8th Cir. 1993).

IV.    This Court Should Create a Receivership in this Case

       Defendants do not dispute that they operated a Ponzi scheme that involved

hundreds of investors and close to a $100 million dollars. Indeed, Defendant Adams

has pled guilty to criminal charges of wire fraud and bank fraud based on the same

conduct. Thus, there is no dispute that fraudulent conduct occurred. It is in the

interest of justice, and to the benefit to the investors, to have a court-appointed

receiver to oversee the process of returning the remaining funds in as fair and

economical manner as possible. The appointment of a receiver will also prevent

investors from obtaining preferential treatment to Defendants assets by filing

individual lawsuits.

       Moreover, in addition to the funds frozen in various accounts, there are a

number of illiquid assets at stake. Mr. Adams has invested in various real estate

projects. See Exhibit A (Letter from John M. Colette). These investments will likely

be included in the receivership estate because, among other things, Adams

presumably purchased or maintained some or all of those real estate projects with


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investor funds. Indeed, Adams’ counsel has advised that almost $200,000 in

payments to various real estate investments are coming due, and that such payments

must be made to preserve Adams’ interest in those investments. Id. A receiver is

needed to determine whether maintaining those investments is in the best interest of

defrauded investors, particularly because the potential estate has minimal liquid

assets at the moment.

       Accordingly, the Court should appoint a receiver over Defendants’ assets to

marshal Defendants’ assets, and preserve and maximize their value for the benefit of

the defrauded investors.

V.     The SEC’s Receiver Recommendation

       Generally, courts rely on the SEC to recommend a receiver to the court.

Anticipating that the Court may ask the Commission to recommend a potential

receiver here, the Commission sought three proposals from individuals who have

served as receivers in other SEC cases. If the Court prefers to rely on the

Commission’s recommendation rather than select its own receiver, the Commission

respectfully recommends that the Court appoint Kenneth D. Murena, Esq., of

Damian & Valori, LLP, in Miami, Florida, as the receiver in this matter. See Exhibit

C (Murena’s résumé and list of receivership cases). Mr. Murena has extensive

experience serving as a receiver, both in SEC matters and other civil contexts, and in

particular he is very familiar with this sort of fraud and the types of assets that the


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Commission believes will compose the estate. While Mr. Murena is located in

Miami, he has committed that, if appointed, he will not bill the estate for expenses

incurred while traveling between Miami and Mississippi.

       The Commission respectfully requests that this Court enter the proposed order

appointing Kenneth D. Murena as a temporary receiver over the Defendants’ assets.

VI.    Conclusion

       Based on the foregoing, the Commission respectfully requests that the Court

grant its motion and enter the proposed order appointing Kenneth D. Murena, Esq.,

of Damian & Valori LLP, as a temporary receiver over Defendants’ assets.

Dated this 10th day of May, 2018.

                                        Respectfully submitted,


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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF MISSISSIPPI
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SECURITIES AND EXCHANGE
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                         v.                           Case No. 3:18-CV-252-
                                                      CWR-FKB

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

                              Defendants,



                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, I served a true and correct copy of the

Plaintiff’s Memorandum of Law in Support of its Expedited Motion to Appoint

Receiver on John M. Colette, Esq., as counsel for Defendants, via email and by

United Parcel Service.

Dated this 10th day of May, 2018.
                                           Respectfully submitted,

                                           s/Kristi H. Johnson
                                           Kristi H. Johnson
